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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

MIDAMINES SPRL LTD. (Ill. Corp.),
Plaintiff,                                    No. 18-cv-01489

v.                                            The Honorable John J. Tharp, Jr.

KBC BANK N.V. and KBC GROUP N.V.,
Defendants.
_____________________________________/

          Plaintiff’s Opposition To Motion For Supplemental Briefing

        Had Defendants KBC Bank NV and KBC Group NV been candid with the

Court, they would have informed the Court that the true purpose of their

motion for supplemental briefing (and other pending motions) is to perpetuate

the Defendants’ unlawful theft of Plaintiff’s funds.

        Plaintiff respectfully opposes the improper motion at Doc. 50. KBC Bank

NV and KBC Group NV continue to steal the Plaintiff’s money. The Plaintiff

Midamines Sprl Ltd. has a right to recover all of its funds plus the interest.

The issues have been extensively and fully briefed and so supplemental briefing

is not necessary. The Defendants’ improper motion is designed as an attempt

to deny the Plaintiff access to the state courts of Illinois which have different

legal standards.     Also, there are state law causes of action which are not

present in the current federal court action, such as for breach of contract, and

for Defendants’ statutory violations of the Illinois Uniform Commercial Code.

Moreover, Plaintiff’s state court action was required to be filed before December

15, 2018, i.e. within one year after dismissal of the prior federal court action

for lack of jurisdiction with a right to refile, rendered on December 15, 2017.




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      KBC’s motion for “filing bar” as to all federal courts and all state courts

in Illinois is improper and runs counter to the Anti-Injunction Act. A federal

court may not enjoin “proceedings in a State court except as expressly

authorized by Act of Congress, or where necessary in aid of its jurisdiction, or

to protect or effectuate its judgments.” 28 U.S.C. § 2283.

      This law, known as the Anti-Injunction Act, represents “a necessary

concomitant of the Framers’ decision to authorize, and Congress’ decision to

implement, a dual system of federal and state courts.” Smith v. Bayer Corp., 31

S.Ct. 2368, 2375 (2011) (quoting Chick Kam Choo v. Exxon Corp., 486 U.S. 140,

146,108 S.Ct. 1684 (1988)). Under the Act’s broad command that state

tribunals “shall remain free from interference by federal courts,” id. (quoting

Atl. Coast Line R.R. v. Locomotive Eng'rs, 398 U.S. 281, 282, 90 S.Ct. 1739, 26

L.Ed.2d 234 (1970)), “the Act's core message is one of respect for state courts,”

id. The Plaintiff, Midamines Sprl Ltd., has valid federal law claims herein and

Plaintiff in its state court action has valid state law claims against KBC Bank

NV and KBC Group NV.

Dated: December 4, 2018

Respectfully submitted,

s/ Hassan A. Abbas

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